




02-11-123-CV









 
  
  
   
    
   
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
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NO. 02-11-00123-CV 

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  In the Interest A.A.W., A Child
  
  
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FROM THE 158th
District Court OF Denton COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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On July
15, 2011, we notified appellant that his brief had not been filed as required
by Texas Rule of Appellate Procedure 38.6(a).&nbsp; See Tex. R. App. P.
38.6(a).&nbsp; We stated we could dismiss the appeal for want of prosecution unless
appellant or any party desiring to continue this appeal filed with the court
within ten days a response showing grounds for continuing the appeal.&nbsp; See
Tex. R. App. P. 42.3.&nbsp; We have not received any response.

Because
appellant's brief has not been filed, we dismiss the
appeal for want of prosecution.&nbsp; See Tex. R. App. P. 38.8(a), 42.3(b),
43.2(f).

Appellant
shall pay all costs of this appeal, for which let execution issue.

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PER CURIAM

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PANEL:&nbsp;
DAUPHINOT,
GARDNER, and WALKER, JJ.&nbsp;


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DELIVERED:&nbsp;
August 25, 2011 









[1]See Tex. R. App. P. 47.4.







